











Opinion issued February 21, 2008
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;














In The
Court of Appeals
For The
First District of Texas




NO. 01-07-00945-CV




IN RE HARRELL, Relator




Original Proceeding On Petition For Writ Of Mandamus




MEMORANDUM OPINION 

By petition for writ of mandamus, relator, Artis Charles Harrell, seeks to
compel the trial court to schedule hearings on all pending motions.


    
We deny the petition for writ of mandamus.
&nbsp;
PER CURIAM
&nbsp;
Panel consists of Justices Nuchia, Hanks, and Higley.&nbsp;


